UNITED STATES DISTRICT COURT an
DISTRICT OF MASSACHUSETTS <1 037 ~i; Pl) 3:37
No.

Matthew Haney, as Trustee of the
Gooseberry Island Trust

Plaintiff COMPLAINT
v.

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Town of Mashpee, and Ron Bonvie, )
Sharon Sangeleer, William Blaisdell, )
Jonathan Furbush, and )
Scott Goldstein, as they are )
members and are collectively the —_)
Zoning Board of Appeals of the )
Town of Mashpee )
Defendants )

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INTRODUCTION

1. This action arises from a final decision of the Defendant, Zoning Board of Appeals of the
Town of Mashpee, denying the Plaintiffs’ applications for variances to construct a single-
family dwelling on a vacant 4 Acres Island called Gooseberry Island located in
Popponesset Bay in the Town of Mashpee, Massachusetts (the “Property”). Without the
variances, no viable developmental or economic use of the Property exists. The denial
decision deprived the Plaintiffs of all economically beneficial use and value of their
Property and converts their Island into open space for public benefit. This constitutes a

taking of property without just compensation, in violation of the federal and state
constitutions. Plaintiffs seek damages for the taking under the Fifth Amendment of the

United States Constitution, Article 10 of the Massachusetts Declaration of Rights, and

damages and attorney's fees under 42 U.S.C. § 1983, and 42 U.S.C. § 1988.
PARTIES

Plaintiff Matthew Haney, trustee of the Gooseberry Island Trust (“Gooseberry”) is an

individual with a mailing address of P.O. Box 1416, Brookline, Massachusetts 02446.

The Defendant Town of Mashpee is a duly constituted municipal body with an address of

16 Great Neck Road North, Mashpee, Massachusetts 02649.

The Defendants Ron Bonvie, Sharon Sangeleer, William Blaisdell, Jonathan Furbush,

and Scott Goldstein, are the duly appointed members and are collectively the Mashpee

Zoning Board of Appeals (*ZBA”) and have an address of 16 Great Neck Road North,

Mashpee, Massachusetts 02649.

Each Defendant is a person within the meaning of 42 U.S.C. § 1983.

The acts of Defendants set forth below were performed under color of law.

JURISDICTION AND VENUE

Plaintiffs assert that the Defendants violated the Taking Clause of the Fifth Amendment,
as incorporated against the states by the Fourteenth Amendment. The Court has
jurisdiction of this claim under 28 U.S.C. § 1331 and 28 U.S.C. § 2201. A remedy is also
sought under the Declaratory Judgment Act, U.S.C. § 2201.

Plaintiffs further assert claims under two federal statutes: 42 U.S.C. § 1983 and 42 U.S.C.
§ 1988.

Plaintiffs’ state law claims are so related to claims in the action within such original

jurisdiction that they form part of the same case or controversy under Article III of the
United States Constitution. The Court has jurisdiction of these claims under 28 U.S.C. §
1367.
10. Venue is proper in this Court because this action concerns property located in the Town

of Mashpee, Massachusetts, within the jurisdiction of the District of Massachusetts.

FACTUAL ALLEGATIONS

FOR OVER 70 YEARS THE TOWN OF MASHPEE

HAS DESIRED TO ACQUIRE GOOSEBERRY ISLAND FOR OPEN SPACE

Il. The October 18, 1954, Mashpee Town meeting included Article 12 which provided:

To sce if the Town will vote to take by eminent domain, purchase, gift or in any other manner, for
purposes of a public park, recreational grounds or for any other public purposes, a certain parcel of
marsh and upland, with all the trees, shrubbery and structures thereon, if any, commonly known as
Gooseberry Island

12. The article passed at town meeting but due to the Town being in receivership the article
needed approval by the State controlled Mashpee Advisory Commission.
13. The Mashpee Advisory Commission withheld approval.

14. The March 7, 1955, Mashpee Town meeting included Article 64 which provided:

To see if the Town will vote to take by eminent domain, purchase, gift or in any other manner, for
purposes of a public park, recreational grounds or any other public purpose, a certain parcel of
Marsh and upland, with all the trees, shrubbery and structures thereon, if any, commonly known as

Gooseberry Island

15. The article passed at town meeting but due to the Town being in receivership the article
needed approval by the State controlled Mashpee Advisery Commission.

16. | The Mashpee Advisory Commission withheld approval.
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The Town of Mashpee 1998 Local Comprehensive Plan classified the Subject Property as
Lands of Conservation and Recreation Interest.

In 2008 the Town of Mashpee classified the Subject Property as a Private Land of
Conservation Interest in the Town's Open Space, Conservation and Recreation Plan.

At the August 27, 2018 Mashpee Board of Selectman meeting Selectman Gottlieb made a
motion to for the Town to place an article on the Fall Town Meeting agenda to take
Gooseberry Island by eminent domain as the Town’s actions had rendered the island
“unbuildable.~ It was noted this is an environmentally sensitive piece of property, and
the town has been expending funds on continued regulatory processes. Legal fees are
more than the $65,000 assessed value.

The motion did not pass.

On August 24. 2020, the Mashpee Board of Selectman voted to add an article on the
October Town Meeting warrant to authorize the Town o* Mashpee to purchase
Gooseberry Island/Subject Property and authorize the Town Manager to enter into
Negotiations with the owner for said purchase.

The only statements in opposition were by a selectman who felt that the Town did not
need to pay for the Subject Property on the basis that the ZBA actions made the property
unbuildable.

On September 24, 2020, the Mashpee Board of Selectman formally placed an article on
the Town Meeting warrant as Article 20 to purchase or obtain by eminent domain the
Subject Property.

At that same meeting, the Mashpee Board of Selectman voted to support the passage of

Article 20 at Town Meeting.
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On September |7, 2020 The Finance Committee did not recommend approval of Article
20 by a vote of 5-0.

On October 19, 2020. the Mashpee Town Meeting voted to indefinitely postpone a vote
on Article 20.

On November 12, 2020, the Chairman of the Mashpee Conservation Commission
criticized the Commission for failing to endorse Article 20 before the October 2020
Town Meeting and the Commission then voted to endorse the acquisition of the Subject
Property by eminent domain.

As such, the Commission, which has been actively preventing the Plaintiff from
developing the Subject Property to reduce its value, has endorsed buying the island
immediately.

On or about January 2021, the Mashpee Conservation Department submitted an
application to the Mashpee Community Preservation Committee "seeking Community
Preservation Act funding to purchase Subject Property for the purposes of preserving the
island as conservation land/open space.”

On January 14, 2021, Mashpee Community Preservation Committee met to discuss the
funding request of the Mashpee Conservation Department.

The Committee voted 5-3-1 to authorize the Committee to acquire an appraisal of Subject
Property.

The Committee never acquired an appraisal, and the Mashpee Conservation Department
withdrew their application due to pending litigation.

THE TOWN OF MASHPEE MADE A POLICY DECISION TO NOT TO ALLOW

THE DEVELOPMENT OF GOOSEBERRY ISLAND IN RETURN FOR THE
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MASHPEE WAMPANOAG TRIBE RELEASING LAND CLAIMS IN THE
TOWN OF MASHPEE

On May 23, 2007, the Mashpee Wampanoag Tribe (“Tribe”) obtained federal
recognition.
Subsequently, the Defendant Town of Mashpee entered into negotiations for the
execution of an intergovernmental agreement with the Tribe governing the relationship
between the Town and the Tribe.
Article | of the April 7, 2008, Town of Mashpee Special Town Meeting was a request to
“authorize[] the board of selectmen to enter into an Inter-Governmental Agreement with
the Mashpee Wampanoag Tribe upon such terms and condition as the Selectmen deem
advisable and in the best interest of the Town, or take any other action relating thereto.”
Article | passed.

Article 2 of the April 7, 2008, Town of Mashpee Special Town Meeting was a request to:

“see if the Town will vote to authorize the Board of Selectmen to convey, grant and/or release to
the Mashpee Wampanoag Tribe of Massachusetts (the "Tribe") the Town's title, rights, or interest
it and to the following described parcels of real property, to file such petitions with the
Massachusetts General Court as may be necessary to effect this conveyance, grant or release, and
to execute any and all instruments necessary to convey, grant and for release the Town's title,
interest or rights, upon such terms and conditions as the Board of Selectmen shall deem to be in
the interest of the Town; provided, that the Town and the Tribe shall have first executed an Inter-
Governmental Agreement specifically providing the terms of disposition of the subject title, rights
and/or interests:.... Parcel Seven: The parcel containing 4.6 acres, more or less, identified on
Assessors Map 106, located off of Punkhorn Point and Gooseberry Island, currently utilized
as a Wampanoag Aquaculture/Shellfish Farm site... Parcels Seven and Eight are Wampanoag
Shellfish Farms located in Popponesset Bay which, have, for several years been cultivated,
maintained and harvested by the Tribe pursuant to licenses and permits granted by the Town. The

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Town has agreed in the Intergovernmental Agreement to convey to the Tribe any right, title or
interest of the Town in these two parcels for continued aquaculture/ shellfish farm use and/or to

support steps necessary for these parcels to be taken into trust for this purpose”

38. Parcel Seven is the water that surrounds Gooseberry Island/Subject Property and is
owned by the Commonwealth of Massachusetts.

39. | Two abutters have Docks in this area.

40. Counsel for the property owner notified the town they could not legally do what they
agreed to do because they did not own the water around Gooseberry Island. In response
to property owner's objections On March 18, 2008, Town Counsel emailed the Mashpee

town manager stating:

I have researched the statutes and case law on point, and ALL that the Town has the authority to
do (pursuant to G.L. ¢.130, ss 52, 57, et seq.) is issue “grants” or licenses to individuals
authorizing them to conduct shellfish farming or other authorized aquaculture activities at
specified tideland/ low water areas. We have no legal or equitable title or interest in any of these
areas, thus. we can't convey any title or interest to the Tribe. We also have no legal right or
ability to interfere with any rights or interests of private property owners or the
Commonwealth in these areas, thus, no action of the Town could affect any such private/ state
rights. Finally, since the right to issue the grants/ licenses is vested in the Town by General Law,
we have no right or legal ability to transfer or assign that right to any other entity. Special

legislation by the General Court will be required to effect any such transfer of rights.

41, At the April 8, 2008, Town Meeting. the Town passed Article 2, but Parcel Seven
was removed from the list of parcels.

42. On or about April 22, 2008, the Defendant Town of Mashpee signed an
intergovernmental agreement (“IGA”) with the Tribe.

43. | Notwithstanding the failure to include Parcel 7 in Article 2, the Town pledged in
the intergovernmental agreement to “support all necessary steps to have [Parcel 7]

acquired in trust for the Tribe.”

44, During the permitting process in front of the Conservation Commission to develop
Gooseberry Island On August 25, 2014, the Tribe sent a letter to the Mashpee Town

Manager and Patrick Costello Town Counsel stating:
Pursuant to Section |.a of the IGA, the Town agreed to convey the Town's interest, if any, in the
“Punkhorn Point Site” consisting of 4.6 acres surrounding Gooseberry Island, as depicted on
Exhibit B and the accompanying map, and described as the "Mashpee Wampanoag Tribal Council
Shellfish Aquaculture Areas." See Page 16 and 17 of the IGA. In the alternative, should the Town
not hold fec title to the site, the Town agreed that it "shall support all necessary steps to have those
Parcels acquired in trust for the Tribe including any local approvals or state legislation.” Se
Section |.b of the IGA.”....... "In accordance with the provisions of the IGA, the Tribe hereby
respectfully requests that the Town—by and through the Town Manager, Town Attorney and
Board of Selectman—aid and support the Tribe in its opposition to the proposed bridge and any
other development on Gooseberry Island that would negatively impact the Tribe's shellfish grant.
Further, the Tribe urges the Town to take the necessary steps to convey the "Mashpee Wampanoag
Tribal Council Shellfish Aquaculture Areas" to the Tribe or, in the alternative, support the Tribe in
its efforts to acquire the area as tribal lands.

45. __ Interestingly plaintiff did a public records request to the town which required the town to
provide plaintiff'a copy of the August 25, 2014 letter from the tribe. In response the town
falsely claimed no such record exist.

46. In response to the tribes letter the town manager instructed town counsel to oppose the
permits for the development of Gooseberry Island.

47, On August 28, 2014, the Commission opened the continued hearing and Plaintiff
requested additional continuance to October 9, 2014 to allow time for requested soil

borings and structural analysis of proposed bridge.

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At the meeting, the Mashpee Conservation Agent stated that Town Counsel will attend
the October 9th meeting and then a motion was made and passed to continue the hearing
to October 9, 2014.

The Commission never requested town council to attend there meeting.

On October 9, 2014 The Mashpee Conservation Commission opened the continued
hearing and Patrick Costello Town Counsel was present and opposed Plaintiffs
application.

Attorney Costello’s opposition was extraordinary as he is tasked as legal counsel to the
Commission and argued against an application for which the Commission is acting ina
quasi-adjudicatory capacity.

During the October 9, 2014 Mashpee Conservation Commission hearing, Patrick Costello
Town Counsel never mention he was there in response to the Tribe’s request for the
Town to oppose the bridge or on behalf of the Town to support the Tribe's opposition.
On April 18, 2018 the Mashpee Board of Selectmen sent a letter to Cedric Cromwell,

chairman of the Mashpee Wampanoag Tribal Council, stating:

With respect to the Town’s commitments under the IGA, we already have fulfilled certain key
obligations, including: ... 4) supporting all local approvals and state legislation, as necessary and
requested by the Tribe, to have the Punkhorn Point and the Popponesset Bay aquaculture sites

acquired in trust, since the Town lacks fee title to those parcels.

The Popponesset Bay aquaculture site is Parcell 7 and surrounds Gooseberry Island.
The letter was drafted by Town Counsel.

At the December 12, 2018, the ZBA the hearing, George "Chuckie" Green director
natural resources Tribe told the ZBA that granting the variance would violate the 2008

IGA.
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At various times, the Plaintiff has sought to settle its dispute with the Town of Mashpee
and its respective boards regarding development of Gooseberry Island.

The Defendant Town of Mashpee and its respective boards have consistently stated that it
will not settle any claim of the Plaintiff without the approval of the Tribe.

By way of example, on February 7, 2020, Patrick Costello emailed Plaintiff's counsel:

with respect to the pending Gooseberry Island zoning appeals and the various pending matters
relative to construction of the bridge from Punkhorn Point to the Island, any proposed settlement
must be acceptable to the Mashpee Wampanoag Tribe. As we discussed yesterday, there are
certain Town/Tribe legal obligations and understandings pursuant to our Intergovernmental
Agreement and otherwise that would absolutely preclude the Town from agreeing to any terms
and conditions relative to construction of a bridge at this location without the consent of the Tribe.
I understand that the zoning appeals do not involve the Tribe as a party, but since any stipulate
resolution thereof would be predicated upon the construction of a bridge for access purposes we
would want to assure the Tribe's assent to the proposed bridge in advance. You noted that, thus
far, efforts to obtain Tribe approval of a bridge to the Island have been unsuccessful. While the
other stated intentions of your client with respect to its development and use of the Island may
well provide a basis for fruitful settlement discussions, it is essential that the Tribe be on board
with the construction of a bridge as a preliminary matter. | would be happy to further discuss thi
point with you, however, please note that this is a “nonnegotiable” prerequisite of the Town for

any settlement negotiations regarding these appeals.

In a February 28, 2020 email from Patrick Costello to plaintiff's counsel, Mr. Costello
stated "as previously noted, there are certain hard limits: the Tribe’s concurrence with
proposals for Gooseberry Is. development is essential."

On March 31, 2020 Patrick Costello, Town Counsel, called Plaintiffs Counsel regarding

a proposed Agreement for Judgment provided by Plaintiff and Costello stated inter alia --

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the Town is not going to agree to anything regarding the bridge unless the Tribe assents
to it.

In various communication in June and July, 2020, the Plaintiff explained to Town
Counsel Patrick Costello that: (i) the Town and its respective boards had an independent
duty under state law to make a decision on an application regardless of the IGA, (ii) the
ZBA and the Conservation Commission were not parties to the IGA; and (iii) it was
wholly inappropriate for the Town and ZBA to delegate its decision making powers to a
third party.

In early July, 2020, the Plaintiff specifically offer to settle the appeal of the zoning
variance denials by entering into an Agreement for Judgment that a house could

only be constructed on the island if and when a bridge was approved.

On July 13, 2020, the Mashpee Board of Selectman went into Executive Session to for
the purpose of: “Strategy Discussion Relative to Pending Litigation Regarding
Gooseberry Island: Matthew Haney, Trustee of Gooseberry Island Trust and SN Trust vs.
Zoning Board of Appeals and Town of Mashpee: Barnstable Superior Court CA
91972CV00012.”

On July 17, 2020, Patrick Costello Town Counsel emailed the following to Plaintiff:

Please be advised that I have discussed with the Board of Selectmen and Town Manager your
proposed Agreement for Judgment in the above referenced zoning appeal, our recent
conversations relative to a “universal” settlement of the multiple pending Gooseberry Island
development litigation matters, as well as your recent statements of intent to pursue further
litigation against the Town and Town officers in the event that these matters are not resolve
forthwith. Upon review of your proposed Agreement for Judgment in the ZBA appeal and

consideration of the status of the other pending Gooseberry Island litigation matters, including the

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trial court and DEP appeal dispositions favorable to the Town rendered to date, be advised that the

Town has rejected your settlement proposal.

TITLE HISTORY OF THE PROPERTY

At all times material to this suit, Gooseberry, or members of the Nelson family in their
individual capacity (Plaintiffs or Owners) owned real property consisting of an island in
Popponesset Bay in Mashpee, Barnstable County, Massachusetts (the “Subject
Property”), more particularly described in Land Court Plan 25209A. (Exhibit 1).

Niles Sture Nelson (“Sture”) purchased the Subject Property, a 4-acre island commonly
known as "Gooseberry Island," from Fields Point Manufacturing Corporation pursuant to
a quitclaim deed, dated September 22, 1955. (Exhibit 2).

Sture purchased the Subject Property for an investment.

in 1981 Sture conveyed title to his son Robert J. Nelson and his wife, Betsy A.

Nelson. (Exhibit 3).

In 1992 Robert J. Nelson and Betsy A. Nelson conveyed title to the Subject

Property to their son, Robert J. Nelson, Jr. (Exhibit 4).

Upon Robert J. Nelson, Jr.’s retirement he planned to construct a single family

home on the Subject Property.

In 2011 Robert J. Nelson, Jr. conveyed title to the Subject Property to the Robert

D. Emmeluth as trustee of the Gooseberry Island Trust (2xhibit 5).

Matthew Haney succeeded Robert D. Emmeluth as trustee. (Exhibit 6).

The property is currently vacant.

Remnants of the foundation of a cottage are shown on the Land Court Plan 25209-A
(attached as Exhibit One), and are still present on the Property.

ACCESS TO THE PROPERTY AND NEARBY ISLANDS

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The Property is comprised of 4+ acres of land located in Popponesset Bay offshore from
the end of Punkhorn Point Road formally known as the road to Gooseberry Island.

The Subject Property is separated from the mainland by a narrow channel that is
approximately 40 feet wide at mean low water and 80 feet wide at mean high water.

The channel has a depth of less than two feet at mean low water. As further discussed
below, the Plaintiff has rights in the property at the end of Punkhorn Point Road allowing
the Plaintiff to travel along Punkhorn Point Road, a private road, across the property at
the end, then to the water, and across the waters of Popponesset Bay to the Subject
Property.

The Subject Property is currently accessed by wading across the channel.

Pursuant to Chapter 134 of the Acts of 1908, the Massachusetts General Court authorized
Plaintiff's predecessor in title, Theodore H. Tyndale, his associates and assigns to
construct a bridge from the mainland at the end of Punkhorn Point Road to the Subject
Property (“1908 Act”). (Exhibit 7).

Pursuant to the 1908 Act, the Board of Harbor and Land Commissioners Court issued a
license to Theodore H. Tyndale to construct a bridge from the mainland at the end of
Punkhorn Point Road to the Subject Property (“1909 License”). (Exhibit 8).

The 1908 Act and the 1909 License also authorized the construction of a bridge from the
mainland to Popponesset Island in Popponesset Bay.

This bridge to Popponesset Island was constructed pursuant to the Act and, at this time,
over 70 homes have been constructed on the approximately 45 acres of land that

constitutes Popponesset Island (i.¢., about one house for each 0.64 acres of total land).

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Popponesset Island is located in the R3 District which requires a minimum lot size of
40,000 square feet (/.e., 0.91 acres).

Popponesset Island has an elongated shape with a single road down the center which
travels essentially north to south.

As such the overwhelming majority of home lots on the Popponesset Island have frontage
on this narrow road on one side and Popponesset Bay on the opposite with adjacent home
lots on each side to the north and south.

Notwithstanding that almost every lot is deficient in size and located on an island that can
only be accessed via a small bridge connecting to a single road, the Defendant ZBA has
approved numerous special permits and variances allowing the construction and
expansion of single family houses on Popponesset Island.

Notwithstanding that the lots are deficient in size and located on an island that can only
be accessed via a small bridge. the Town through its building department has issued
numerous permits allowing the construction and expansion of single family houses on
Popponesset Island.

Notwithstanding that almost every lot on Popponesset Island is located within or
immediately adjacent to protected wetlands and the island has shellfish grants located in
Popponesset Bay in its immediate vicinity, the Town of Mashpee through its
Conservation Commission has issued numerous authorizations to allowing the
construction and expansion of single family houses including associated septic systems
on Popponessct Island.

MASHPEE ZONING BYLAWS

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On October 25, 1960. Mashpee Special Town Meeting adopted a zoning bylaw and
placed the Property within the R-150 Residence.

After the adoption of the zoning by-law the Owner had a right to construct at least six
houses on the Subject Property.

The March 7, 1966, Mashpee Annual Town meeting voted to amended the zoning by-law
to require "minimum frontage of one hundred twenty-five (125) feet.... provided that one
(1) one-family dwelling and its accessory buildings may be erected on any lot which at
the time this by-law was adopted. is separately owned.”

After the amendment of the zoning by-law, the Owner had a right to construct one house
on the Subject Property.

The 1970 Mashpee Town meeting voted to amended the zoning by-law to require: "No
building shall be erected except on a lot fronting on a street and there shall be not more
than one principal building on any lot.”

After the amendment of the zoning by-law and since the Subject Property is an island and
has no frontage, the Owner needed a variance from the zoning bylaw to build a house on
the Subject Property.

The May 1978 Mashpee Town meeting voted to add a grandfather provision to the
zoning bylaw by adding Section 5.5 which provides: “Any lot shown on a plan and
lawfully in existence in compliance with the provisions of the Subdivision Control Law
(MGL Chapter 41), as of January 1, 1977 may thereafter be built upon."

After the enactment of this section, the Owner had a right to construct one house on the

Subject Property.

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The 1985 Mashpee Town meeting voted to amended the zoning by-law to remove the
protection that Section 5.5 provided.
After the amendment of the zoning by-law, the Owner needed a variance to build a house
on the Subject Property.

ACTIONS OF THE DEFENDANT ZONING BOARD OF APPEALS

TO PREVENT DEVELOPMENT OF GOOSEBERRY ISLAND

Gooseberry Island/Subject Property is located in a heavily developed waterfront
residential area of the Town of Mashpee and nearly all available upland waterfront lots
which are a fraction of the size of Gooseberry Island are developed with single family
homes.
The Defendant ZBA is a board established by the Town which pursuant to M.G.L. ch.
40A, 10 and Section 174-95 of the Mashpee Zoning Bylaw has the authority to grant site
specific variances to the terms of the Mashpee Zoning Bylaw.
Since adoption of the zoning bylaw in the town of Mashpee, the Defendants have granted
hundreds of variances from the zoning by-law.
Plaintiff has been unable to find a situation whereas a municipally has refused to allow a
house on an island with a similar amount of upland regardless of whether an access
bridge has been constructed excepting circumstances where the Town or another entity
purchased a restriction on the development of the island.
On or about August 29, 2013, the Plaintiff filed an application for variances with the
ZBA of the following provisions of the Mashpee Zoning Bylaw to enable construction of

a one single-family dwelling on the Subject Property: (i) Section 174-12- frontage ona

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street; (ii) Section 174-31 — 150 feet of frontage on a street; and (iii) Section 174-32-
unobstructed paved access roadway (Exhibit 9).
On October 9, 2013, the Defendant ZBA held a public hearing on the Trust's application
and voted 4 to | to deny it.
The Defendant ZBA filed three separate written decisions with the Town Clerk denying
each of the three variances that the Plaintiffs request. (Exhibit 10).
The Plaintiff timely appealed the 2013 ZBA decision to Barnstable Superior Court.

ACTIONS OF THE MASHPEE CONSERVATION COMMISSION

TO PREVENT DEVELOPMENT OF GOOSEBERRY ISLAND

On March 14, 2014 under the false belief that Defendant's only concerns were with
public safety and the provision of emergency services, Plaintiff had Vaccaro
Environmental Consulting file a Notice of Intent (NOI) application with the Mashpee
Conservation Commission (“Commission”), a board established by the Defendant Town,
on behalf of the Plaintiff and the SN Trust which are the owners of the land on
Gooseberry Island/Subject Property and at the east end of Punkhorn Point Road in
Mashpee proposing to construct a modern bridge and driveway in order to provide
vehicle access to the island in approximately the same location as that approved in the
1908 Act and 1909 License.
After multiple continuances for various reasons, the matter was scheduled for a
substantive hearing on January 8, 2015.
On January 8, 2015, the Commission closed the public hearing on the application.
On January 22, 2015, and based primarily on the Mashpee Conservation agent’s

recommendations, the Mashpee Conservation Commission voted to deny the Plaintiff's

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application without prejudice and. on or about February !1, 2015, the Commission issued
an Order of Conditions denying the proposed timber bridge under both the Wetlands
Protection Act, M.G.L. c. 131, § 40 and the Mashpee Wetlands Protection Bylaw.

The Commission's decision was not issued within twenty-one days of the close of the
public hearing as required by the state Wetlands Protection Act, M.G.L. c. 131, § 40.

On or about February 12, 2015, the Trusts filed a request for superseding review with the
Massachusetts Department of Environmental Protection (“DEP”) pursuant 310 CMR
10.05(7)(b).

On or about June 30, 2015, the DEP issued a supersediny order of conditions denying the
proposed timber bridge on the grounds that the installation of sixteen 14-inch diameter
piles within salt marsh would destroy 17.1 square feet of salt marsh and that the shading
impacts from the bridge decking would have an adverse effect on the productivity of the
salt marsh.

On or about July 14, 2015, the Trusts requested that the DEP issue a variance from the
Wetland Protection Act, and also appealed the DEP’ s deaial superseding order of
conditions by requesting an adjudicatory hearing with the Office of Appeals and Dispute
Resolution ("OADR") pursuant to 310 CMR 10.05(7){j)(2).

Prior to the adjudicatory hearing, the Trusts conferred with the DEP about replacing the
proposed timber bridge with a steel bridge which would span the salt marsh, remove the
pilings from the disputed land containing shellfish and which would have better light
penctration.

The DEP advised that it would view such changes as permissible under the DEP's "Plan

Change Policy" (Wetlands Program Policy 91-1: Plan Changes) and that such changes

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would address the two reasons for denial because the steel bridge would have no piles in
the salt marsh and would allow more light to penetrate to the salt marsh.

The Trusts revised their proposed plans accordingly and the DEP advised that it viewed
the revised design as complying with the applicable Wetlands Regulations and entitled to
approval under the Wetlands Protection Act.

On or about December 7, 2015, the OADR held a one-day evidentiary hearing on the
matter.

On January 25, 2016, DEP filed a post-hearing memorandum of law stating: "iv.
Conclusion: Based on the foregoing the Department now supports the Petitioners’ request
for a Final Order of Conditions and submits that the Presiding Officer should grant the
Petitioners’ appeal."

On January 25, 2016, the Commission filed a Post Hearing Memorandum of Law which
provided: "VI. Conclusion: For the aforementioned reasons, the Department should find
for the Respondents and issue a Ruling that the decision of the Commission was timely
filed and therefore it is controlling and Petitioner's newly-filed Plan has improperly
circumvented the Plan Change Policy requirement of through local review and should be
remanded to the Commission."

On or about June 6, 2017, the OADR issued a Recommended Final Decision.

The Recommended Final Decision held, inter alia: (a) that the Commission's decision
was not issued in a timely manner and, consequently, the Trusts were entitled to proceed
with the adjudicatory appeal; and (b) Recommended Final decision affirming MassDEP’s
denial of the Petitioner’s original proposed Timber Bridge Project and denying review of

the Petitioncr’s alternative proposed Steel Bridge Project because the Steel Bridge was,

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under MassDEP’s Plan Change Policy, “substantially different” from the timber bridge
first proposed and as a result required review by the Mashpee Conservation Commission
in the first instance. Specifically, OADR determined that the Petitioner’s expert
witnesses. who testified that the new design was not substantially different from the prior
design and would decrease impacts to wetlands, were not persuasive. By contrast,
OADR determined that the MCC’s and the intervenor parties* expert witnesses were
more qualified than the Petitioner’s experts and effectively demonstrated that the steel
bridge alternative was substantially different and that its construction would increase
impacts to salt marsh and shellfish resources (Exhibit 11).

On or about June 22, 2017, the Commissioner of the DEP, Martin Suuberg, adopted the
Recommended Final Decision and issued a Final Decision.

The decision that the Commission failed to act within 21 days of the closing of the public
hearing effectively prohibited the Town from applying the Mashpee Wetlands Protection
Bylaw to the Plaintiff's project unless Plaintiff was forced to file a new notice of intent
before the Commission.

The Plaintiff who was aggrieved by the Final Decision, which would have required the
Plaintiff to return to file a new notice of intent before the Commission, appealed by filing
a Complaint with the Barnstable Superior Court seeking judicial review under the
Administrative Procedure Act, G.L. c. 30A, § 14, on or about July 21, 2017.

The DEP responded to the Complaint in Superior Court by filing the Administrative
Record in 2018.

On or about August 31, 2018 the Plaintiffs served a Motion for Judgment on the

Pleadings.

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129. The Defendant Town through the Commission responded with an Opposition and Cross-
Motions for Judgment on the Pleadings.

130. On May 14, 2019, the Superior Court held a hearing on the Motions and took the matter
under advisement.

131. On July 29, 2019, the Court issued a Memorandum and Order denying the Plaintiffs”
Motion and allowing the Defendants” Cross-Motions and, on August 2, 2019, Judgment
was entered affirming the DEP's Final Decision.

132. The Plaintiff was aggrieved by the Judgment of the Superior Court and filed a Notice of
Appeal on August 28, 2019.

133. The appeals court affirmed the decision of the Superior Court.

THE TOWN FILES A LAND COURT SUIT AGAINST THE PLAINTIFF
CHALLENGING THEIR RIGHTS IN THE MAINLAND PARCEL WHICH ENABLES
THEM TO BUILD A BRIDGE BUT THEN DOES NOT CLAIM THE PROPERTY TO

TRY TO WEAR PLAINTIFF DOWN

134. On October 3, 2014, the Town of Mashpee filed a Complaint in Land Court against the
SN Trust challenging the SN Trust's title to the land at the end of Punkhorn Point Road
(the “Land Court Action”).

135. The Town's claim had little or no basis in fact.

136. On or about June 15, 2017, the Land Court directed the parties to identify the locations of
the land that they sought to claim title to at the end of Puakhorn Point Road in a joint
sketch.

137. In response, the parties submitted a document which became “Ex. C” to the Land Court

as a stipulation.

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In Exhibit C, the Town placed the northern limit of its claims far to the south the end of
Punkhorn Point Road and the claims of the other parties, with no overlap demonstrating
that the Town knew that it had no viable claim of title to the land at the end of Punkhorn
Point Road.

On July 19, 2017, the SN Trust asked that the Town to settle the Land Court litigation
against the SN Trust as the Town and the trust's claims did not overlap.

Assistant Town Counsel Kathleen Connolly emailed: As we discussed, the Town of
Mashpee is willing to enter into settlement discussions with SN Trust and the residents of
Punkhorn Point Road who are plaintiffs in one of the consolidated cases. The Town is not
interested in entering into a settlement with SN Trust alone, but rather would consider a
global settlement of the issues in these two cases."

On October 10, 2019, the Land Court entered judgment that the SN Trust owned the land
at the end of Punkhorn Point Road and, in doing so, noted that the Town submitted no
credible evidence or any testimony in support of its claim stating that the Town:

did not offer any source deeds into evidence to show a foundation for [its] claim... . It did not
offer a testimony from any witnesses on that topic or, for that matter, on any other [and] relied
solely on (1) a 1954 deed from George and Gladys Schneider to the Town (with no underlying
source deeds or other evidence to show a foundation tying that deed back [to the 1888 division of
lands in Mashpee), and (2) a 1957 Plan... which the Town created based upon the Schneider

deed but which, in fact, is inconsistentwith it. I find neither reliable. (footnotes omitted)

In reaching its decision, the Land Court explained that the Town utterly failed to present

any evidence to support its claim stating as follows:

The Town of Mashpee's position is more ambiguous. Because this is a case whose central issue is
location — where on the ground, as best can be determined, the parties' respective parcels actually

are — the court directed the parties to identify the locations they sought in a joint sketch. Ex, C

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was the parties’ response to that order, and was taken by th: court as a stipulation. In that sketch,
the Town put the northern limit of its claims far to the south of the other parties’ claims, with no
overlap. In its post-trial submission, however, the Town went beyond that limit to claim ownership
of marshland further north, all the way to Punkhorn Point Road and in front of the road, which
does create overlap in that area... due to the Town's failure to prove record title, traceable back to
the original Mingo marsh setoffs, in any part of that area, I cannot find that the Town is the record
owner of either of those set-offs, either... the Town did nothing more than make that statement.
It offered no evidence at trial of any acts of possession, | saw none at the view. and the Town gave
no citation or indication of what it meant by "generally accepted standards in the Commonwealth
of Massachusetts..." or what it did to meet those alleged standards. Its claim of adverse possession
thus fails.

ZONING BOARD REJECTS THE WOOD AND STEEL BRIDGE PROPOSAL
On November 9, 2018, Plaintiff filed a three applications for a zoning variances to allow
construction of a single family home on the Subject Property: (i) variance from
requirement for frontage on a street, Mashpee Code Sec. 174-12, (ii) variance from
frontage for fire department access, Mashpee Code Sec. 174-32, and (iii) variance from
150 foot length of frontage requirement, Mashpee Code Sec. 174-31 (Exhibit 12).

The Plaintiff made the filings as he did not believe the ZBA was ever going to allow
development of the island bridge or no bridge and the concern about public safety was a
ruse for the Plaintiff to go on a wild Goose chase getting wetland permits for a bridge.
That is the issuance of variance is generally discretionary and no person is entitled

to a variance.

Thus, it made little sense to expend efforts to obtain a wetland permit for a bridge if the

ZBA would deny a variance for a single family home accessed via a bridge. The

applicable provisions of the state zoning act as to variances provide [A zoning board of

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appeals] shall have the power . . . to grant upon appeal or upon petition with respect to
particular land or structures a variance from the terms of the applicable zoning
ordinance or by-law where such permit granting authority specifically finds that owing to
circumstances relating to the soil conditions, shape, or topography of such land or
structures and especially affecting such land or structures but not affecting generally
the zoning district in which it is located, a literal enforcement of the provisions of the
ordinance or by-law would involve substantial hardship, financial or otherwise, to the
petitioner or appellant, and that desirable relief may be granted without substantial
detriment to the public good and without nullifying or substantially derogating from the

intent or purpose of such ordinance or by-law. ...G.L. ch. 40A, Sec. 10.

Therefore, to address the 2013 variance denials, the application proposed to

construct a single-lane bridge that will span the channel and provide pedestrian and
vehicle access to the Island, including access by the Town's emergency response vehicles
and explained how the island met the criteria for granting a variance as because of
“circumstances relating to the soil conditions, shape, or topography of such land or
structures and especially affecting such land or structures but not affecting generally the
zoning district in which it is located, a literal enforcement of the provisions of the
ordinance or by-law would involve substantial hardship, financial or otherwise, to the
petitioner or appellant, and that desirable relief may be granted without substantial
detriment to the public good and without nullifying or substantially derogating from the
intent or purpose of such ordinance or by-law.”

The application specifically stated: “The plans depict a timber pile-supported bridge and

a steel bridge supported by piles. The final design of the bridge is subject to pending

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litigation, but it will be either the timber bridge or the steel bridge.” Petition for Variance,
dated November 9, 2018, at p. 3, n. 1.

Prior to opening the public hearing on December 12, 2018, the ZBA in violation of Open
Meeting Law, G.L. c. 30A, §§ 18-25 entered executive session with assistant Town
Attorney, Kate Connolly, to discuss the application.

The ZBA never requested town council to attend there meeting.

The ZBA then opened the public hearing on the Plaintiffs application and then had
assistant Town Attorney Kate Connolly speak in opposition to Plaintiffs variance
request.

At the hearing, the Plaintiff asserted that, if the ZBA does not approve the variance, their
action will constitute a regulatory taking.

In response, the Chairman of the ZBA requested the opinion of Assistant Town Attorney,
Kate Connolly, as to whether the denial of a variance would constitute a regulatory taking
and she advised the ZBA that such action would not constitute a regulatory taking.

At the close of the hearing, the Defendant ZBA voted 5 to 0 to deny the

application for a variance.

On December 20, 2018, the ZBA filed three separate written decisions with the Town
Clerk denying the Plaintiffs petition on the basis that basis that the proposed variance
would not advance the Town's interest in maintaining the public safety and, further, grant
of a variance would in fact derogate from the underline purpose and intent of the Zoning
By-laws. (Exhibit 13).

The Plaintiff timely appealed the 2018 ZBA decisions to Barnstable Superior Court.

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The denial was not based upon Massachusetts' common law nuisance principles or any
other longstanding common law background principle of state law.
Without the issuance of the variances, the Plaintiff cannot develop the Subject Property
for a home or any other economically viable, developmental use.
CHANGE IN FEDERAL LAW

In 2019, the United States Supreme Court issued its decision in Knick v. Township of
Scott, 139 S.Ct. 2162 (2019).
In Knick, the Supreme Court overruled Williamson County Regional Planning
Commission v. Hamilton Bank of Johnson City, 473 U.S. 172 (1985), which held that
property owners must seek just compensation under state law in state court before
bringing a federal takings claim.
The holding in Knick makes it possible for a property owner alleging a regulatory taking
claim to proceed directly to federal court.

2021 FEDERAL REGULATORY TAKING CLAIM
On April 29, 2021 due to the actions of the Defendant the plaintiff filed a regulatory
taking claim in federal district court
On March 22, 2022 the court issued a decision dismissing the complaint without
prejudice stating “No “Final” Decision Has Been Made By The Town” and the claim was
not “ripe” yet because “the Trust has not filed any application seeking a variance based
on the steel bridge proposal. Therefore, the present litigation is not ripe. Haney has not
given the agencies the opportunity “to exercise their full discretion in considering
development plans for the property[.]” Palazzolo, 533 U.S. at 620-21, 121 S. Ct. at

2459.” (Exhibit 14).

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In the order the district court explained “The Takings Clause of the Fifth Amendment
provides that “private property [shall not] be taken for public use, without just
compensation.” U.S. Const. am. V. A property owner may bring a Fifth Amendment
claim under 42 U.S.C. § 1983 to seek compensation for a government violation of the
Takings Clause. Knick v. Twp. of Scott, Penn., 139 S. Ct. 2162, 2177, 2014 L. Ed. 2d
558 (2019). When governmental regulations deprive a property owner of all
economically beneficial uses of their property, that owner has suffered a compensable
taking. Lucas v. S.C. Coastal Council, 505 U.S. 1003, 1019, 112 S. Ct. 2886, 2895, 120
L. Ed. 2d 798 (1992). “Where a regulation places limitations on land that fall short of
eliminating all economically beneficial use, a taking nonetheless may have occurred,
depending on a complex of factors including the regulation’s economic effect on the
landowner, the extent to which the regulation interferes with reasonable investment-
backed expectations, and the character of the government action.” Palazzolo v. Rhode
Island, 533 U.S. 606, 617, 121 S. Ct. 2448, 2457, 150 L. Ed. 2d 592 (2001) (citing Penn
Cent. Transp. Co. v. City of New York, 438 U.S. 104, 123, 98 S. Ct. 2646, 2659, 57 L.
Ed. 2d 631 (1978)).”

Knowing the ZBA already rejected the steel bridge proposal the Plaintiff appealed the
decision to the first circuit.

During the appeal the ZBA took the position the 2018 Variance denials were not final
decisions.

The first circuit affirmed the district court judgement on different grounds explaining
"Moreover, as discussed above, the Board made it clear when considering the 2018

Variance Applications that it was concerned with the lack of emergency vehicular access

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to Gooseberry Island and felt "uncomfortable with conditioning" the variances on a
bridge that the Trust had not yet obtained approval for. The Board has never represented
that it would deny any and all variance applications -- even if the Trust presented
applications accompanied by an approved steel-bridge plan. Given this, we cannot
conclude that the Board has committed to a position” with respect to the variances. See
Pakdel, 141 S. Ct. at 2230. The Trust still has the option to pursue approval of the steel-
bridge proposal and then present the Board with variance applications. See id. (holding
the finality requirement met where there was no question about the government's position
and such position inflicted a concrete injury on the plaintiff). Submission of those
applications would further clarify "the extent of development permitted by the" Town's
zoning bylaws. Palazzolo, 533 U.S. at 624. Accordingly, Haney has not demonstrated
compliance with the finality requirement. Conclusion Haney must first obtain the
government's conclusive and definitive position on the application of the Town's zoning
bylaws to Gooseberry Island before proceeding in federal court. See Pakdel, 141 S. Ct. at
2230. Having failed to do so, and for all the reasons stated above, the judgment of the
district court is affirmed.” (Exhibit 15).

POST 157 CIRCUIT DECISION ACTIONS OF THE DEFENDANTS

THAT “RIPEN” THE REGULATORY TAKING CLAIM

In response to the I* circuit court decision instructing the Plaintiff needed to obtain the
“sovernment’s conclusive and definitive position on the application of the Town's zoning
bylaws to Gooseberry Island” before proceeding in federal court Plaintiff released the

stay in the zoning appeal cases which were consolidated.

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On October 9, 2024 Defendants submitted to the plaintiff defendants proposed statement
of facts (Exhibit 16).

In their proposed statement of facts Defendant took the position in regards to the 2013
applications for variances (no bridge proposal)

In its Decisions, the ZBA noted in support of its denial of the variances the
lack of adequate access to the Island for responses to medical emergencies,
general public safety concerns, potential negative environmental impacts,
particularly with respect to the Mashpee Wampanoag Tribe’s aquaculture
grants around the Island, and its determination that a grant of the variances
would derogate from the underlying purpose and intent of the Zoning
Bylaws.

In their proposed statement of facts Defendant took the position in regards to the 2018

applications for variances (access via wood or steel bridge)

In said Decisions, the ZBA noted in suppurt of its denial of the variances
the lack of adequate access to the Island for responses to medical
emergencies, general public safety concerns, fire safety, potential negative
environmental impacts with respect to the Mashpee Wampanoag Tribe’s
aquaculture grants around the Island, and its determination that a grant of
the variances would derogate from the underlying purpose and intent of
the Zoning Bylaws.

On October 11, 2024 a jury waived trial in front of Hon. Thomas J Perrino was held and

the matter was taken under advisement.

On March 13, 2024 the Hon. Thomas J Perrino issued a memorandum & Order
“Judgment is to enter in favor of the Defendants, Mashpee Zoning Board of Appeals, et
al., ORDERING that its decision denying the applications for variances is AFFIRMED.“
finding the following

The 2018 application sought the same three variances, however, the
proposal included access to the island and the proposed residence by way
of a bridge to be constructed. The Board recognized the issues surrounding
whether the bridge actually could be built. Also, the Board recognized that
there existed a dispute over ownership of the land on the mainland side of
where the bridge was to be located as well as conservation issues
regarding spanning the tidal area. Again, the fire chief was not in favor

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of bridge access, it being only ten feet wide, and difficult to timely
respond to emergencies. Also, the Wampanoag Tribe spoke against the
proposed bridge, citing their existing shellfish rights in the waters where
the bridge was proposed. After due deliberation, the Board again
unanimously voted to deny the application, reasoning that the
proposal would be a detriment to the public good and would derogate
from the intent of the by-law. (Exhibit 17)
On March 15, 2024 the Barnstable Superior court issued two judgments that the decision
of the Defendants, Mashpee Zoning Board of Appels is affirmed. (Exhibit 18).
During the trial the Defendants did not take the position the lack of wetland permits for
the steel bridge as the sole basis for their denials.
During the trial the Defendants did not take the position the ZBA had not reached a final
decision in regard to the zoning petitions.
The Superior court did not find in their decision the lack of wetland permits for the steel
bridge was the sole basis for the Defendants denials.
DECLARATORY RELIEF ALLEGATIONS
The Plaintiffs have the right to be free from a taking of their private property occurring
without just compensation under the Fifth Amendment to the United States Constitution,
and Article 10 of the Massachusetts Declaration of Rights.
The Town of Mashpee and the ZBA are charged with enforcing local rules that have been
employed to harm and take the Plaintiffs” private property without compensation.
The Town of Mashpee and the ZBA have a legal obligation under state and federal law to
provide compensation once private property is taken.
There is a justiciable controversy in this case as to whether the ZBA denial of variances
that would have allowed the Plaintiffs to build a home requires just compensation under

Article 10 of the Massachusetts Declaration of Rights and/or the Fifth Amendment to the

United States Constitution.

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A declaratory judgment as to whether the ZBA’s denial of a variance unconstitutionally
takes property will clarify the legal rights and obligations between Plaintiffs and
Defendants, with respect to enforcement of the Mashpee Zoning Bylaw and the
requirement of just compensation.
A declaratory judgment as to the constitutionality and legality of the ZBA’s denial of a
variance will give the parties relief from the uncertainty and insecurity giving rise to this
controversy.

COUNT I

Unconstitutional Taking of Private Property Under the Fifth Amendment

to the United States Constitution

Plaintiffs repeat the allegations in paragraphs | through /83 set forth above and further
allege as follows.

The Fifth Amendment to the United States Constitution prohibits the government from
taking private property without just compensation.

The Fourteenth Amendment to the United States Constitution makes the Fifth
Amendment to the United States Constitution applicable to the states and municipalities.
The Fifth Amendment’s requirement of just compensation is self-executing and, through
the Fourteenth Amendment, provides property owners with a self-executing right to
damages for a taking carried out by a state or municipality.

A regulatory taking occurs when the state or governmental agency denies a property
owner of all economically beneficial use of land, Lucas +. South Carolina Coastal
Council, 505 U.S. 1003 (1992), or deprives an owner of significant economic value. Penn

Central Transportation Co. v. New York City, 438 U.S. 104 (1978).

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The actions of the Defendants alleged in this Complaint have deprived the Plaintiffs of all
economically beneficial use of their land and constitutes a categorical taking under Lucas
v. South Carolina Coastal Council.

The actions of the Defendants alleged in this Complaint have deprived the Plaintiffs of
significant economic value of the subject Property and constitutes a taking under Penn
Central.

The actions of the Defendants resulted in the Plaintiffs being unable do anything with the
subject Property except to view it.

Alternatively, if any residual value remains, actions of the Defendants alleged in this
Complaint have deprived the Property of approximately 98.9% of its prior value as a
residential developable waterfront lot.

In light of the surrounding neighborhood, which includes many developed oceanfront lots
that are substantially similar to the Property, Plaintiffs had distinct and reasonable
expectations that they could build a single-family home on the subject Property.

The reasonable use expectation for the subject Property is as a residential developed
oceanfront parcel.

The actions of the Defendants have the constructive effect of ousting the Plaintiffs from
the Property and converting it to conservation land.

The Defendants did not provide, offer, or guarantee compensation to the Plaintiffs at any
time, and nothing in the town bylaws provides for compensation of persons in the
Plaintiffs’ position.

The actions of the Defendants alleged in this Complaint are an uncompensated taking of

the Plaintiffs’ Property for public benefit.

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The Plaintiffs have exhausted all applicable and relevant administrative procedures.

This Complaint seeks damages, in the form of monetary compensation, for the regulatory
taking of the subject Property.

Defendants* actions were taken under color of law and constitute the policy of the Town
of Mashpee, as embodied on the Mashpee Zoning Bylaw, which was adopted by vote of
the residents of Mashpee at Town Meetings.

COUNT II

Inverse Condemnation Under the Massachusetts Corstitution and State Law
Plaintiff repeats the allegations in paragraphs | through 200 set forth above and further
allege as follows.

Article 10 of the Massachusetts Constitution provides as follows: no part of the property
of any individual can, with justice, be taken from him, or applied to public uses, without
his own consent, ... And whenever the public exigencies require that the property of any
individual should be appropriated to public uses, he shal! receive a reasonable
compensation therefor.

The Massachusetts Supreme Judicial Court has held that a regulatory taking claim may
be brought against a municipality and its boards and commissions under Article 10 of the
Massachusetts Constitution enabling a Plaintiff to state a cause of action to recover
damages when the state or a political subdivision takes private property through
regulation and in the absence of eminent domain proceedings.

Under Article 10 of the Massachusetts Constitution, a property owner may establish that

a compensable taking has occurred, resulting in a valid state law inverse condemnation

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claim, by showing that the government has substantially impaired its right to possess, use,
enjoy, or dispose of land.
Property rights may be deemed to be substantially impaired when a government action
substantially reduces the value of the subject property or substantially intrudes on other
property rights.
The actions of the Defendants alleged in this Complaint have substantially impaired the
use, enjoyment, and value of the Property.
The actions of the Defendants alleged in this Complaint resulted in an uncompensated
taking of the Property for public benefit.
The Defendants have not instituted formal condemnation or eminent domain proceedings
against the Property.
The actions of the Defendants are not based upon common law principles such as the
common law of nuisance.
The Plaintiffs are entitled to recover compensation from the Defendants under Article 10
of the Massachusetts Constitution.
The Plaintiffs have exhausted all applicable and relevant administrative procedures.
The federal court should assert supplemental jurisdiction over this claim because it has
“original jurisdiction” under Count |, and this claim is “so related to claims in the action
within such original jurisdiction that they form part of the same case or controversy”
under Article II] of the United States Constitution. See 28 U.S.C. 1367.

WHEREFORE, the Plaintiffs requests that this Honorable Court:
A, Declare that the Defendants’ actions have resulted in an unconstitutional taking

of the Plaintiffs’ Property under both the United States Constitution and the
Massachusetts Constitution:

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B. Assess damages for just compensation for a taking of the Property under the
Fifth Amendment in the amount of $9,025,000.00;

C. Assess damages for a taking of the subject Property under Massachusetts law
in the amount of $9,025,000.00;

DL): Award the Plaintiffs their attorney's fees and costs in this matter as allowed
under state and federal law and specifically under 42 U.S.C. § 1988; and

E. Enter such other orders as it deems meet and just.

Dated: October 4. 2024 Respectfully submitted,
Matthew Haney, Trustee Gooseberry Island
Trust

By Matthew Haney, Pro se

(if. t,_—

Matthew Haney

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